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IN THE DISTRICT COURT OF POTTAWATOMIE couney I L E D
STATE OF OKLAHOMA IN THE DISTRICT COURT
JUN 2.0 any
POTTAWATOMIE COUNTY, G
RETA HEAD, CouRT CLERK
BY cngaewt reper woe, _. DEPUTY

Case nS DOO-ASBn

PENNY EZELL, on behalf of
herself and all others similarly situated,

   
 

Plaintiff,
Vv.

GRACO CHILDREN'S PRODUCTS, INC,
and NEWELL RUBBERMAID, INC.,

Wesel tet eet Ne et eer et et et tet tet

 

Defendants.
CLASS ACTION COMPLAINT
Parties
4. Defendant Graco Children’s Products, Inc, (“Graco”) was, at all relevant times,

a foreign corporation organized and existing according to the laws of Delaware with its
principal place of business in Pennsylvania. Graco is and has been engaged in the business
of designing, manufacturing, distributing, marketing, and selling products in the state of
Oklahoma, including the “TurboBooster” child safety seat. Graco regularly did business in
Oklahoma, and its products, including the child safety seats involved in this case (the
“TurboBooster”), are regularly sold and used by consumers in Oklahoma. Graco has,
therefore, submitted itself to the jurisdiction of this Court.

2. Plaintiff, Penny Ezell, is a resident of Pottawatomie County, Oklahoma.
Plaintiff purchased a TurboBooster, model 8496DAZ, serial number JJO524061016761,
with a manufacturing identification date of 052406. Plaintiff purchased her Graco
TurboBooster child safety seat from Wal-Mart in Shawnee, Cklahoma.,

3. Graco is a “brand” of defendant Newell Rubbermaid, Inc. (“Newell

Rubbermaid”). At various times relevant to the matters alleged in this Complaint, Graco was

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alse known as a “division,” “brand” and “subsidiary” of Newell Rubbermaid. Newell
Rubbermaid was, at all relevant times, a corporation organized and existing according to the
laws of the state of Delaware. At all relevant times, Newell Rubbermaid has conducted
business in the state of Oklahoma. Newell Rubbermaid is and has been engaged in the
business of designing, manufacturing, distributing, marketing, and selling products in the
state of Oklahoma, including the TurboBooster child safety seat. Newell Rubbermaid is
subject to the jurisdiction of this Court.

4. At all relevant times, Newell Rubbermaid supplied the capital and approvals
necessary to design, manufacture, market, and sell the TurboBooster. At ail times, Newell
Rubbermaid exercised complete dominion and control over Graco with respect to the
TurboBooster, whether Graco is deemed a “brand,” “subsidiary,” or “division.”

5. Newell Rubbermaid employed in-house legal, compliance, and regulatory
personnel to make decisions regarding the TurboBooster, and these empioyees, on behalf of
Newell Rubbermaid, ultimately made or ratified the decisions that allowed the TurboBooster
to be sold in a defective condition as more fully set forth below.

6. Newell Rubbermaid is also responsible for all representations and warranties
made by Graco.

7. Newell Rubbermaid and Graco will be referred to collectively in this Complaint
as “Defendants,”

Jurisdiction and Venue

8. This Court has jurisdiction over this class action pursuant to 12 0.8. § 2023.

9. Venue In this case is founded on 12 0.8. § 137. The causes of action of the
named class representative arose in Pottawatomie County by sale and distribution of Graco

TurboBooster child safety seats in Pottawatomie County. Defendants are doing business in
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Pottawatomie County, Oklahoma, and received compensation and profits from the sale of
these child safety seats in Pottawatomie County, Oklahoma, and have made material
omissions and misrepresentations in Oklahoma, including Pottawatomie County.

10. ‘The federal courts lack jurisdiction under 28 U.S.C. § 1332, which provides for
federal jurisdiction in class actions with minimal diversity when damages exceed five million
dollars, exclusive of interest and costs. Defendants did not sell TurboBooster child safety
seats to Oklahoma residents in sufficient quantities to trigger the jurisdictional minimum.

11. The federal courts also lack subject matter jurisdiction over this action since
there is no federal question jurisdiction. Every claim arising under the Constitution, treaties,
or laws of the United States is expressly disclaimed (including any claim arising from an act
or omission on a federal enciave or of any officer of the United States or any agency or
person acting under him occurring under color of such office). No claim of admiralty or
maritime law is raised. Plaintiff sues no foreign state or agency.

Factual Background

12. The TurboBooster is a belt-positioning child restraint device subject to 49
C.F.R. § 574,213, also known as Federal Motor Vehicle Safety Standard 213 (“FMVSS
213").

13. FMVSS 213 is “a minimum standard for... motor vehicle equipment
performance.” 49 U.S.C. § 30102.

14, At all relevant times, FMVSS 213 required that Defendants “seif-certify” the
TurboBooster as being in compliance with the standard before they sold or introduced any
TurboBooster into the stream of commerce.

15. Every TurboBooster ever solid by Defendants expressly warrants and

represents on the safety seat itself and in a permanent label, the following: “This child
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restraint system conforms to ail applicable Federal Motor Vehicle Safety Standards.”

16. Every TurboBooster ever sold by Defendants expressly warrants and
represents, on the box that it is sold in, that the TurboBooster meets or exceeds the
requirements of FMVSS 213.

17. At ail relevant times, FMVSS 213 required that the TurboBooster comply with
the foliowing:

$5.1.1. Child restraint system integrity. When tested in accordance with $6.1, each

child restraint system shail meet the requirements of paragraphs (a) through (c) of

this section.

(a) Exhibit no complete separation of any load bearing structural element ....

(ob) (1) If adjustable to different positions, remain in the same adjustment position
during the testing that it was in immediately before the testing... .

18. The TurboBooster is a “belt-positioning booster.” {t is not equipped with
integrated harnesses or buckles but, instead, “positions” a child (raises the child off the
automobile seat} so that the child can utilize the lap/shoulder seat belts in the vehicle.

19. The TurboBooster is designed to be used in vehicle seating positions that are
equipped with a lap/shoulder safety belt. When a child is using the TurboBooster, the lap
belt is routed across the child’s lap and rests on two lap belt guides on the TurboBooster.
The shoulder belt is routed down and across the child's chest and under the TurboBooster
armrest that is adjacent to the seat belt buckle (where it joins the lap belt and is then
buckled).

20. Every TurboBooster ever sold by Defendants has adjustable armrests. The
armrests have two intended positions: “up” and “down.”

21. In an FMVSS 213 sled test (a frontal collision), crash loads are initially

transmitted into the shoulder belt by the child dummy. Once the slack in the belt is
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absorbed, the shoulder belt loads the armrest that is closest to the seat belt buckle.

22. The armrests are structural load-bearing elements of the TurboBooster.

23. Defendants have known or should have known, no later than 2002 (the first
year of production), that the armrests of the TurboBooster were load-bearing structura!
elements of the seat.

24, “Prior to the commencement of production of the TurboBooster, Defendants
knew, or certainly could and should have known, that the National Highway Transportation
Safety Administration ("NHTSA") and its test contractors had determined that the armrests
on belt-pasitioning boosters were “load-bearing structural elements.”

25. Because the armrests on the TurboBooster are adjustable, they are not
permitted to change position during a sled test. A design that allows the armrest to change
position during a sled test as alleged above is a violation of FMVSS 213, $5.1.1(b).

26. Any TurboBooster that contains a design that allows the armrest to change
position during a sled test does not “conform” with FMVSS 213.

27.  TurboBoosters are designed in a manner that allows the armrest on the
TurboBooster to separate completely from the base. A design that allows the armrest to
separate from the base during a sled test is a violation of FMVSS 213, $5.1.1(a).

28. Any TurboBooster that contains a design that allows the armrest to completely
separate from the base during a sted test does not “conform” with FMVSS 213.

29. From the commencement of production in June 2002 through late 2007 or
early 2008, Defendants sold millions of TurboBooster safety seats ta consumers in the
United States. All of these TurboBoosters shared common design defects that allowed the
armrests to change position and/or completely separate from the seat’s base. The principal

design defect that allowed the armrests of the TurboBooster to change position and
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separate uncer crash forces is a plastic screw “boss” that was too thin, short, and weak for
the retention screw to “bite” into.

30. Defendants’ implementation of a design and manufacturing change to the
TurboBooster in approximately 2007 or 2008 resolved the lack of compliance with the child
restraint system integrity requirements contained in FMVSS 213 and eliminated the safety
related defect in the seats.

31. Defendants knew or should have known at all times that, prior to the design
and manufacturing change of the plastic screw “boss,” that the TurboBooster was not
compliant in multiple respects with FMVSS 213 and that it contained a safety related defect.

32. Defendants knew at all times that the pre-2008 design of the TurboBooster
presented a safety hazard to the users of the TurboBooster safety seats and that the sale of
the TurboBooster to Plaintiff and the public constituted the sale of a damaged product that
could not perform as warranted.

33. Atall relevant times, 49 U.S.C. § 30018(c)(4) required that Defendants notify
owners of the TurboBoosters once it knew, or should have known, in good faith, that the
safety seat contained a defect that related to motor vehicle safety. A change of position of
the adjustable armrest during a sled test, or a complete separation of the armrest during a
sled test, is a safety related defect.

34. Despite their knowledge as alleged herein, Defendants knowingly and
deliberately concealed all information relating to the armrest fallures from consumers and
continue to conceal this information to this day. Defendants concealed this information so
that they could continue producing and selling the TurboBooster without fosing market share
to their competitors (none of whom utilized adjustable armrests in their belt-positioning

boosters) and so they could avoid the financial costs and loss of brand reputation that would
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be associated with a recall or other public notification. More specifically, Defendants

concealed, among other things, the following:

a.

That after its first round of sled tests, Graco managers knew that the
armrest issue was a “problem” that required a “design fix.”

That because of the armrest “problem,” it began production of the
TurboBooster in June 2002 “at risk.”

That after going into production “at risk,” the armrests continued to fail in
sled testing, including failures in tests denominated by Graco as
“compliance” tests.

That fixing the armrest “problem” was assigned the lowest priority at
Graco,

That by 2005, after numerous sled test failures, Graco engineers finally
changed the design of the screw boss (making it wider and longer, but not
thicker}, so that the “load bearing capability” of the armrest would be
improved and so that the “distribution of the load is better.”

In October 2005, a lawsuit was filed against Graco in federal court in
South Carolina after a child was ejected from a TurboBooster and killed
when his armrest detached. In the case, Graco's Rule 30(b)(6) witness, a
senior compliance engineer, testified that Graco had experienced only two
(2} armrest failures in sled testing. The testimony was faise. The number
of complete armrest separations as of the date of this deposition
(2/23/07) was actually fourteen (14). The number of times the armrest
changed position but did not completely separate was at least five (5).

The NHTSA would later send Graco a request for information about the
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TurboBooster and the death of the child: all of these sled test failures were
affirmatively concealed by Graco,

g. On July 24, 2006, after another armrest separation in a sled test, Graco's
senior compliance engineer documented that the failures “could be a
technical non-compliance” with FMVSS 213 and that production should
not go forward “until this is resolved.” This same engineer would later
document that he “didn't want to argue the point” with NHTSA; as a result,
information regarding the “technical non-compliance” was not, and has
hever been, disclosed to NHTSA,

h. In April 2007, Graco decided to thicken the screw boss in accordance with
the recommendations made by its compliance engineer eight months
earlier.

i. In May 2007, the armrest separation problem on the seats was
categorized internally at Graco as a “compliance” issue.

J. In August 2007, the first seats with the “fix” began to be sold. However,
on information and belief, Graco did not stop production to implement the
fix on all of its armrest molds at once; rather, the molds were taken out of
production so that the “fix” could be made only when demand slacked off
enough to allow a slight decrease in production.

35. Every TurboBooster sold prior to the implementation of the August 2007
design change was sold with the representation that the seats “conform to,” “meet” or
“exceed” all applicable FMVSS 2413 requirements.

36. Defendants knew or should have known, however, that these seats did not

comply. Specifically, and among other things, Defendants deliberately, actively and
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successfully concealed everything they knew about the TurboBooster armrest failures from
the pubtic.

37. Defendants entered into a protective order in McCune, et al. v. Graco
Children’s Products, inc., et al., Civil Action No. 509-CV-107, pending in the U.S. District
Court for the Eastern District of Texas, which prevents the disclosure of TurboBooster
discovery to this Court. In the event Defendants challenge the sufficiency of the Complaint
pursuant to the Oklahoma Rules of Civil Procedure, Plaintiff requests that this Court first
modify the McCune protective order so that Plaintiff may amend this pleading to include
information obtained in McCune.

Class Action Allegations

38. Under 12 0.8. § 2023, Plaintiff brings this action on behalf of herself and the
plaintiff class, initially defined as:

All Oklahoma residents who purchased a Graco TurboBooster

manufactured prior to the implementation of the current
TurboBooster design.

?

39. Excluded from the plaintiff class are:

A, Defendants and any entity in which Defendants have a
controlling interest, and its legal representatives,
employees, officers, directors, assigns and successors;

B. Persons who allege a physical injury arising from the
defect;
C. The judge, magistrate and any specia! master to whom

this case is assigned, and any member of their
immediate families; and

D. To the extent the class certification order permits
exclusion, all persons who timely submit proper requests
for exclusion from the plaintiff class.
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40. The piaintiff class consists of ali Oklahoma residents who purchased a Graco
TurboBooster manufactured prior to the implementation of the current design, thus making
individual joinder impracticable pursuant to 12 O.S. § 2023(A}(1). The disposition of the
claims in a single class action will provide substantial benefits to all parties and to the Court.

41. ‘The factual! and legal bases of the claims are common to all plaintiff class
members and represent a common injury, 12 0.S. § 2023(A)(2).

42. There are many common questions of law and fact. These common issues
include, but are not limited to, the following:

A. Whether Defendants conceived, designed, and manufactured a
TurboBooster that did not meet the structural integrity requirements of FMVSS 213:
B. Whether Defendants conceived, designed, and manufactured a

TurboBooster that contained a safety related defect;

Cc. Whether Defendants implemented a uniform fix for the defect:

D. Whether Defendants breached express warranties;

E. Whether Defendants breached implied warranties: and

F, Whether Defendants’ conduct constituted fraudulent concealment,

43. The named Plaintiff identified in this Complaint purchased the Graco
TurboBooster prior to the availability of the modified TurboBooster with a design fix and is
thus typical of the class, 12 0.S. § 2023(A\(3).

44, Plaintiff will fairly and adequately represent and protect the interests of the
plaintiff ciass, as required by 12 0.S. § 2023/A)(4). Plaintiff and her counsel are committed
to vigorously prosecuting this action on behalf of the plaintiff class and have the financial
resources to do so. Neither Plaintiff nor her counse! have any interests adverse to those of

the class.

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Breach of Express Warranty

45. Plaintiff repeats and realleges each and every allegation of this Complaint as
if fully set forth herein verbatim.

46. At all times, Defendants are and have been engaged in the business of
designing, manufacturing, distributing, marketing, and selling the TurboBooster child safety
seat throughout the United States, including the state of Oklahoma.

47. At all times, Defendants are and have been merchants and sellers of the
TurboBooster child safety seat, and Defendants sold the TurboBooster child safety seat to
the consumer Plaintiff and the members of the class.

48. Every TurboBooster seat ever sold by Defendants, including all TurboBooster
seats sold to Plaintiff and the members of the class, expressly affirms, promises, warrants
and represents on the safety seat itself and on a permanent label, the following: “This child
restraint system canforms to all applicable Federal Motor Vehicle Safety Standards.”

49, Every TurboBooster seat ever sold by the Defendants, including all
TurboBooster seats sold to Plaintiff and the members of the class, expressly affirms,
promises, warrants and represents on the box in which it is sold, that the TurboBooster
seats “conform to,” “meet,” or “exceed” all applicable FMVSS 213 requirements.

50. Defendants expressly warranted to Plaintiff and the members cf the class that
all of the TurboBooster chiid safety seats were merchantable and fit for their ordinary,
particular and intended use and purpose as a child safety restraint.

51. However, the TurboBooster seats sold by Defendants to Plaintiff and the
members of the class do not conform to all applicable Federal Motor Vehicle Safety

Standards.

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52, The TurboeBooster child safety seats sold by the Defendants to Plaintiff and
the members of the class fail to conform to FMVSS 213 because, as alleged more fully
herein, the seats all share common design defects that allow the armrests to change
position and/or completely separate from the seat’s base. This design defect was not
remedied until Defendants implemented a design change in approximately late 2007 or
2008.

53. The TurboBooster seats sold by Defendants to Plaintiff and the members of
the class are not merchantable and fit for their ordinary, particular and intended use and
purpose as a child safety restraint. These seats contain a safety related defect,

54, Defendants breached their express warranties to Plaintiff and the members of
the class that the TurboBcoster seats were merchantable at the time of delivery, thus
depriving Plaintiff and the members of the class of the product they bargained for - - a seat
that conformed as warranted to FMVSS 213.

55. Defendants breached their express warranties to Plaintiff and members of the
class that the TurboBooster seats were fit for their ordinary, particular and intended use and
purpose as a child safety restraint at the time of delivery.

56. Defendants breached their express warranties to-Plaintiff and the members of
the class that the TurboBooster seats conformed to all Federal Motor Vehicle Safety
Standards at the time of delivery.

5/. Defendants have breached their express warranties to Plaintiff and the
members of the class that the TurboBooster seats conformed to, met or exceeded al!
applicable FMVSS 213 requirements.

58. Defendants have received notice of the breach.

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59. Defendants have also received notice by virtue of the defect and Defendants’
knowledge of the defect as alleged herein. Indeed, as mentioned above, the TurboBoosters
at issue failed Defendants’ own internal compliance tests.

60. Further, it would have been futile for Plaintiff to notify the retailer of the
TurboBooster when she became aware of the defect concealed by Defendants because the
Defendants instructed Plaintiff to notify Defendants directly. See Exhibit A. Additionally,
Defendants also represented to Plaintiff that Defendants would only repair or replace her
TurboBooster if she discovered the defect within one year of purchase. {d.

61. The element cf privity, if found to be applicable, exists vis-a-vis Defendants
and the members of the class because: (i) Defendants have had direct. written
communications with Plaintiff and the members of the class with regard to the
TurboBoosters via standardized warranty forms; i) the retailers that have sold
TurboBoosters to Plaintiff and the members of the class are agents, in law or in fact, of
Defendants; (iii) Defendants have entered into contracts with Plaintiff and the members of
the class in connection with the assurance of the warranties at issue; and (iv) Plaintiff and
members of the class are the intended third-party beneficiaries of the warranties at issue.

62. Asa direct and proximate result of Defendarits’ breaches, Plaintiff and the
members of the class have suffered monetary loss.

63. Plaintiff and the members of the class paid full market value for a child safety
seat, reasonably betieving that it conformed te the FMVSS. Instead, Plaintiff and the
members of the class received a child safety seat that failed to conform to the FMVSS as
alleged herein.

64, Plaintiff and the members of the class have been deprived of the product they

bargained for ~ a child safety seat that conformed to the FMVSS.

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65. The TurboBoosters purchased by Plaintiff and the members of the class were
rendered completely useless due to their failure to conform to minimum federal safety
standards as alleged herein.

66. Plaintiff and the members of the class are entitled to recover the difference
between what they were entitled to receive - a child safety seat that conformed to the
FMVSS - with what they received ~ a child safety seat that did not conform to the FMVSS.

67. Specifically, Plaintiff and the members of the class are entitled to a refund of
the full purchase price of the TurboBoosters.

Breach of implied Warranty

68, Plaintiff repeats and realleges each and every allegation as though fully set
forth herein verbatim.

69. At all times, Defendants impliedly warranted to Plaintiff and the members of
the class that the Graco TurboBooster was fit for its intended use and purpose as a child
safety seat.

70. ~~ At all times, Plaintiff and the members of the class relied on representations
made by Defendants that the Graco TurboBooster was appropriate for safety.

71. Defendants breached their implied warranty to Plaintiff and the members of
the class in that Graco TurboBooster child safety seats are unfit for their intended use and
purpose and fail to conform to all applicable Federal Motor Vehicle Safety Standards, as
promised on the labeling of each and every TurboBooster Sold to Plaintiff and the members
of the class.

72, Defendants have received notice of the breach.

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73. Defendants have also received notice by virtue of the defect and Defendants’
knowledge of the defect as alleged herein. Indeed, as mentioned above, the TurboBoosters
at issue failed Defendants’ own internal compliance tests.

74, Further, it would have been futile for Plaintiff to notify the retailer of the
TurboBooster when she became aware of the defect concealed by Defendants because the
Defendants instructed Plaintiff to notify Defendants directly. See Exhibit A. Additionally,
Defendants also represented to Plaintiff that Defendants would only repair or replace her
TurboBooster if she discovered the defect within one year of purchase. Id.

75. As a direct and proximate result of Defendants’ breaches, Plaintiff and the
members of the class have suffered monetary foss.

76. ‘Plaintiff and the members of the class paid full market value for a child safety
seat, reasonably believing that it conformed with the FMVSS. Instead, Plaintiff and the
members of the class received a child safety seat that failed to conform to the FMVSS as
alleged herein.

77. Plaintiff and the members of the class have been deprived of the product they
bargained for - a child safety seat that conformed to the FMVSS.

78, The TurboBoosters purchased by Plaintiff and the members of the class were
rendered completely useless due to their failure to conform to minimum federal safety
standards as alleged herein.

79. ‘Plaintiff and the members of the class are entitled to recover the difference
between what they were entitled to receive - a child safety seat that conformed to the
FMVSS ~ with what they received - a child safety seat that did not conform to the FMVSS.

80. Specifically, Piaintiff and the members of the class are entitled to a refund of

the full purchase price of the TurboBoosters.

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Fraudulent Concealment

81. ‘Plaintiff repeats and realleges each and every allegation of this Complaint as
if fully set forth herein verbatim.

82. At all times, Defendants possessed superior knowledge of the TurboBooster
child safety seat and tts failures and defects.

83. At ail times, Plaintiff and the members of the class, without any fault or lack of
diligence on their own part, were unaware and ignorant of the true character, nature and
quality of the TurboBooster child safety seat. Plaintiff and the members of the class were
also unaware and ignorant of, without any fault or lack of diligence on their own part, of the
defects and failures of the TurboBooster child safety seat.

84. Defendants had a duty, and have a continuing duty, to disclose material facts
relating to the TurboBooster child safety seats to Plaintiff and the members of the class, and
Defendants failed to do so.

85. As previously mentioned herein, the armrests of the TurboBooster seat are
structural load-bearing elements of the TurboBooster.

86. Defendants should have known, since before the TurboBooster was first
produced in 2002, that the armrests of the TurboBooster were load-bearing structural
elements of the seat.

87. Fram commencement of production in June 2002 through late 2007 or early
2008, Defendants sold milllons of TurboBooster safety seats to consumers in the United
States, including Plaintiff and the members of the class. All of the TurboBoosters sold to
Plaintiff and the members of the class shared design defects that allowed the armrests to
change position and/or completely separate from the seat’s base.

88. Defendants knew that the TurboBooster seats were defective.

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89. Defendants knew at all times that the armrest failures in the TurboBooster
chiid safety seats were not in compliance, in multiple respects, with Federal Motor Vehicle
Safety Standards, and that the seats contained a safety related defect.

90. Defendants knew at all times that the armrest failures in the TurboBooster
presented a safety hazard to the users of the TurboBooster safety seats.

91. Every TurboBooster sold prior to the implementation of the design change, as
alleged herein, was sold with the express affirmation, promise, warranty and representation
that the TurboBooster child safety seats “conform to,” “meet,” or “exceed” all applicable
FMVSS 213 requirements,

92. However, Defendants knew that the TurboBooster seats did not comply and
that the seats contained a safety related defect. Defendants engaged in a pattern of fraud,
deception, and concealment intended to keep the TurboBooster's lack of compliance with
FMVSS 213 and the existence of the safety related defect a secret. Plaintiff will provide
additional specifics of such fraud, deception and concealment following modification of the
MeCune protective arder.

93. Defendants have deliberately, actively, and successfully concealed everything
they know about the TurboBooster armrest defects and failures from the public.

94, Because of Defendants’ fraudulent concealment of the material facts, as
alleged herein, Defendants are estopped from relying on any statute of limitations defense
because of their concealment of the true character, quality, and nature of the TurboBooster
child safety seat.

95. The applicable statutes of limitation to the causes of action alleged herein
are, therefore, tolled by virtue of Defendants’ knowing, willful, and active concealment of all

facts alleged herein.

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96. ——~Plaintiff and the members of the class were ignorant of this information, which
was and is essential to the pursuit of the claims alleged herein, without any fault or lack of
diligence on their own part,

97. Plaintiff justifiably and reasonably relied on the misinformation provided to
her in the express warranties. Specifically, Plaintiff justifiably relied on Defendants’ express
affirmation, promise, warranty, and representation that the TurboBooster child safety seats
“conform to," “meet,” or “exceed” all applicable FMVSS 213 requirements and federal
safety standards.

98. Plaintiff justifiably and reasonably relied on this information to her detriment.

99. ‘If not for the representations made by the Defendants that the child safety
seats met minimum federal safety standards, Plaintiff would not have purchased the
TurboBooster child safety seat. Indeed, without Defendants’ false and misleading self-
certification that the TurboBooster met all minimum safety standards and thus did not
contain a safety related defect, Plaintiff and the members of the class could not have
purchased a TurboBooster because it would not have been allowed for sale in the United
States.

100. Defendants’ fraudulent concealment is common to Plaintiff and the members
of the class.

101. As a direct and proximate result of Defendants’ fraudulent concealment,
Piainuff and the members of the class have suffered monetary loss.

102. Plaintiff and the members of the class paid full market vatue for a child safety
seat, reasonably believing that it conformed with the FMVSS. Instead, Plaintiff and the
members of the class received a child safety seat that failed to conform to the FMVSS as

alleged herein.

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103. Plaintiff and the members of the class have been deprived of the product they
bargained for ~ a child safety seat that conformed to the FMVSS.

104, The TurboBoosters purchased by Plaintiff and the members of the class were
rendered completely useless due to their failure to conform to minimum federal safety
standards as alleged herein.

105. Plaintiff and the members of the class are entitled to recover the difference
between what they were entitled to receive ~ a child safety seat that conformed to the
FMVSS ~ with what they received - a child safety seat that did not conform to the FMVSS.

106. Specifically, Plaintiff and the members of the class are entitled to a refund of
the full purchase price of the TurboBoosters.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, on behalf of herself and ail others similarly situated, pray that
the Court enter judgment against Defendants and in favor of Plaintiff and the class and to
award the following relief:

A. Certification of the proposed class under 12 0.S. § 2023:

B. Appointment of Plaintiff Ezell as class representative:

C. Appointment of the undersigned attorneys as class counsel:

D. Finding that the Defendants’ conduct constitutes a breach of express
warranty;

E. Finding that the Defendants’ conduct constitutes a breach of implied
warranty;

F. Finding that Defendants’ conduct constitutes fraudulent concealment:

G. An award of compensatory damages and attorneys’ fees: and

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H. Such other and further judiciary determinations and relief as may be

appropriate in this proceeding.

PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

June __, 2012

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Respectfully submitted,

    

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Canada: Please e-mail us at: servicedieite.ca, cali 1-800-667-8184, or write
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